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                    UNITED STATES DISTRICT COURT
                       DISTRICT OF CONNECTICUT

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                                 :
UNITED STATES OF AMERICA         :        UNDER SEAL
                                 :
                                 :
v.                               :        No. 3:16-cr-220(AWT)
                                 :
                                 :
DAVID DEMOS                      :
                                 :
-------------------------------- x

              ORDER RE MOTION TO DISCLOSE GRAND JURY
                LEGAL INSTRUCTIONS (DOC. NO. 127)

     For the reasons set forth below, Defendant Demos’s Motion

to Disclose the Grand Jury Legal Instructions (Doc. No. 127) is

hereby DENIED.

     After a review of the party’s submissions (including the

pertinent transcript of the Grand Jury proceedings) and

consideration of the arguments of counsel during the hearing on

March 12, 2018, the court finds the defendant’s arguments

unpersuasive with respect to both the applicable legal standard

and the facts.

     In United States v. Williams, 504 U.S. 36 (1992), the Court

stated, “[i]t is axiomatic that the grand jury sits not to

determine guilt or innocence, but to assess whether there is

adequate basis for bringing a criminal charge.”        504 U.S. at 51.

     Earlier in the opinion, the Court had noted that “Bank of

Nova Scotia v. United States, 487 U.S. 250, makes clear that the

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supervisory power can be used to dismiss an indictment because

of misconduct before the grand jury, at least where that

misconduct amounts to a violation of one of those ‘few, clear

rules which were carefully drafted and approved by this Court

and by Congress to ensure the integrity of the grand jury's

functions.’”   Id. at 46 (quoting United States v. Mechanik, 475

U.S. 66, 74 (1986) (O’Connor, J., concurring in the judgment)).

The footnote accompanying that sentence reads:

    Rule 6 of the Federal Rules of Criminal Procedure
    contains a number of such rules, providing, for
    example, that “no person other than the jurors may be
    present while the grand jury is deliberating or
    voting,” Rule 6(d), and placing strict controls on
    disclosure of “matters occurring before the grand
    jury,” Rule 6(e); see generally United States v. Sells
    Engineering, Inc., 463 U.S. 418 (1983). Additional
    standards of behavior for prosecutors (and others) are
    set forth in the United States Code. See 18 U.S.C.
    §§ 6002, 6003 (setting forth procedures for granting a
    witness immunity from prosecution); § 1623
    (criminalizing false declarations before grand jury);
    § 2515 (prohibiting grand jury use of unlawfully
    intercepted wire or oral communications); § 1622
    (criminalizing subornation of perjury). That some of
    the misconduct alleged in Bank of Nova Scotia v.
    United States, 487 U.S. 250 (1988), was not
    specifically proscribed by Rule, statute, or the
    Constitution does not make the case stand for a
    judicially prescribable grand jury code, as the
    dissent suggests, see post, at 1751–1752. All of the
    allegations of violation were dismissed by the Court
    -- without considering their validity in law -- for
    failure to meet Nova Scotia's dismissal standard. See
    Bank of Nova Scotia, supra, at 261.

Id. at 46 n.6.   The defendant interprets United States v. Hogan,

712 F.2d 757 (2d Cir. 1983), as setting forth some ground rules,


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but the proper guidance as to the “few, clear rules” is

Williams.

    Consistent with the foregoing, the Court observed in

Williams, with respect to evidence subject to the exclusionary

rule, that “[i]n United States v. Calandra, a grand jury witness

faced questions that were allegedly based upon physical evidence

the Government had obtained through a violation of the Fourth

Amendment; we rejected the proposal that the exclusionary rule

be extended to grand jury proceedings, because of the ‘potential

injury to the historic role and functions of the grand jury.’”

Id. at 50 (quoting United States v. Calandra, 414 U.S. 338, 349

(1974)).

    With respect to sufficiency of the evidence relied upon by

the jury, the Court noted that “[i]n Costello v. United States,

350 U.S. 359 (1956), we declined to enforce the hearsay rule in

grand jury proceedings, since that ‘would run counter to the

whole history of their grand jury institution, in which laymen

conduct their inquiries unfettered by technical rules.’”          Id.

(quoting Costello, 350 U.S. at 364).      The defendant emphasizes

language from Hogan stating that “extensive reliance on hearsay

is disfavored,” 712 F.2d at 761, but Hogan predates Williams.

    With respect to exculpatory evidence, the Court stated that

“[i]mposing upon the prosecutor a legal obligation to present

exculpatory evidence in his possession would be incompatible

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with” a system where the grand jury sits not to determine guilt

or innocence but to assess whether there is adequate basis for

bringing a criminal charge.     Id. at 52.

    With respect to inadequate or incompetent evidence, the

Court noted that “in Costello v. United States, . . . we held

that ‘[i]t would run counter to the whole history of the grand

jury institution’ to permit an indictment to be challenged ‘on

the ground that there was inadequate or incompetent evidence

before the grand jury.’”     Id. at 54 (quoting Costello v. United

States, 350 U.S. 359, 363-64 (1956)).

    Under Federal Rule of Criminal Procedure 6(e)(3)(E)(ii),

the court may authorize disclosure of a grand-jury matter “at

the request of a defendant who shows that a ground may exist to

dismiss the indictment because of a matter that occurred before

the grand jury.”     “[T]he burden is on the party seeking

disclosure to show a ‘particularized need’ that outweighs the

need for secrecy.”     United States v. Moten, 582 F.2d 654, 662

(2d Cir. 1978).

    Here, the defendant contends that he has demonstrated a

particularized need for disclosure of the Grand Jury legal

instructions because the government has continually misstated

applicable securities fraud law and the government engaged in

misconduct before the jury, including improperly vouching for

the criminality of the defendant’s conduct, misleading the Grand

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Jury by providing half-answers, deflecting inquiries and making

misstatements of fact, and by submitting double hearsay

evidence.   The court does not agree.

    With respect to the claimed continued misstatements of the

law on securities fraud, the defendant makes two points.          First,

the defendant contends that the prosecutors in United States v.

Shapiro, 3:15-cr-155 (RNC), misstated the law of willfulness,

even after Judge Chatigny gave specific instructions.         The court

has reviewed the relevant portions of the transcript in Shapiro,

i.e., part of the government’s rebuttal argument at pages 2940-

2942, discussion between counsel and the court at pages 2989-

2990, and Judge Chatigny’s supplemental instruction to the jury

at pages 3005-3009.

    As an initial matter, the defendant relies on a rebuttal

argument that was given by a prosecutor who is not in this case

and was not present for the Grand Jury proceedings.         In any

event, the government quite properly cites to United States v.

Farhane, 634 F.3d 127, 167 (2d Cir. 2011) (rebuttal summation is

“not a ‘detached exposition,’ with every word ‘carefully

constructed . . . before the event[,]” but rather an argument

requiring “improvisation”) (citations omitted).        The Shapiro

transcript makes it clear that that was the situation there,

i.e. what the prosecutor was giving was not a carefully

constructed presentation, but rather an argument requiring

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improvisation.    More importantly, however, what happened during

that rebuttal argument was that the prosecutor first referred to

what the jury instructions said (and did not say), and then made

further argument based on what the jury instructions said.              The

description of what the jury instructions said (and did not say)

was accurate.    The argument that followed is what created the

issue.   Arguably improper rebuttal argument, made in response to

points that the prosecutor understood to be made in the

defendant’s summation, does not support an inference that

something similar would happen during a presentation on the law

to the grand jury.

      The defendant also argues that the prosecutors in this case

have misstated the standard of materiality.         But the statement

the defendant relies on is a quote from United States v. Litvak,

808 F.3d 160, 175 (2d Cir. 2015).       Thus the court finds this

argument unpersuasive.

      The defendant contends that during the Grand Jury

proceedings, the prosecutors improperly vouched for the

criminality of the defendant’s market conduct by injecting their

personal opinions of the defendant’s criminality.          First, the

defendant relies on



  .   The court agrees that it would have been better had the

response been worded differently, but, looking at the statement

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in context, the court cannot conclude that the statement crossed

the line and constituted vouching.




                                                    Thus, the court is

not persuaded that this is an example of vouching.




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    Thus, the court finds these arguments by the defendant

unpersuasive.   It appears to the court that, contrary to the

defendant’s assertions, the prosecutor took steps calculated to

avoid the Grand Jury from being misled.

    Finally, the defendant argues that by submitting double

hearsay, the prosecutors improperly vouched for the criminality

of the defendant.   The court finds this argument unpersuasive in

light of the guidance provided in United States v. Williams.

    In his Group II Motions to Dismiss, the defendant makes

additional assertions with respect to the government misleading

the Grand Jury, which will be addressed in the order with

respect to those motions.



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    The government concedes that there is no longer any

specific need for secrecy in this case.        However, the court

reads United States v. Moten as requiring the party seeking

disclosure to show that there is a particularized need for the

transcript of the Grand Jury proceedings and that such need

outweighs the need for secrecy.        Based on the foregoing

discussion, the court concludes that the defendant has not met

his initial burden of showing there is a particularized need for

the Grand Jury transcript.     Defendants are not entitled to

disclosure of grand jury materials “in order to engage in a

fishing expedition in hopes of uncovering an impropriety or

defect in the proceeding where [they have] no basis to conclude

that an impropriety or defect exists.”        United States v.

Abounnajah, No. CR-91-00146, 1991 WL 42895, at *2 (E.D.N.Y. Mar.

26, 1991); see also United States v. Stern, No. 03 CR. 81, 2003

WL 22743897, at *3 (S.D.N.Y. Nov. 30, 2003) (“[A]bsent any

indication of government impropriety that would defeat that

presumption [of regularity], this court has no roving commission

to inspect grand jury minutes, and will not fashion one.”).




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    It is so ordered.

    Signed this 6th day of April, 2018, at Hartford,

Connecticut.




                                       /s/ AWT_____
                                  Alvin W. Thompson
                                  United States District Judge




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